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                       IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF MISSISSIPPI
                                 OXFORD DIVISION

CLAUDIA LINARES, as spouse of
ISMAEL LOPEZ, Deceased and EDWARD
T. AUTRY as Administrator of the ESTATE of ISMAEL
LOPEZ, Deceased                                                                    PLAINTIFF

v.                                                                     No. 3:19cv133-MPM-RP

CITY OF SOUTHAVEN, STEVE PIRTLE,
in his official capacity as Chief of Police of the
Southaven Police Department, OFFICER
SAMUEL MAZE, Individually and in his
official capacity as a Southaven Police Officer,
OFFICER ZACHARY DURDEN, Individually
and in his official capacity as a Southaven
Police Officer, and JOHN DOES 1-25,                                             DEFENDANTS



                                             ORDER

       Defendants filed a motion in limine on Sunday, September 10, 2023, which is literally the

day before trial. Such a filing removes any possibility that the plaintiff will have an equal

opportunity to brief the relevant issues, particularly since her counsel are (quite understandably)

fully occupied with trial preparation. If this court were to consider this motion on its merits then

the filing of such extremely late motions would likely become a routine “hardball” litigation tactic,

and it will not permit that to happen. Defendants’ motion will therefore be stricken.

       It is therefore ordered that defendant’s motion in limine is stricken.

       So ordered, this, the 11th day of September, 2023.



                                              /s/ Michael P. Mills
                                              UNITED STATES DISTRICT COURT JUDGE




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